 Case: 2:24-cv-00072-DCR-CJS             Doc #: 128 Filed: 08/08/24          Page: 1 of 6 - Page
                                            ID#: 2888



                        IN THE UNITED STATES DISTRICT COURT
                       FOR THE EASTERN DISTRICT OF KENTUCKY


 STATE OF TENNESSEE, et al.,

         Plaintiffs,

 v.
                                                                  No. 2:24-cv-00072
 MIGUEL CARDONA, in his official capacity
 as Secretary of Education, et al.,

         Defendants.


      JOINT MOTION TO CONSOLIDATE BRIEFING AND EXTEND PAGE LIMITS

        The parties hereby move for leave to file consolidated briefs on summary judgment, rather

than individual briefs on each of the dispositive motions at issue. There is good cause for this

request, in that it would avoid duplicative filings and streamline summary judgment briefing. As

it stands now, for example, the Court’s scheduling order suggests that Defendants must file

separate responses to Plaintiffs’ and Intervenors’ motions for summary judgment, as well as a

separate memorandum in support of their own cross-motion. Mem. Op. & Order at 4 (July 16,

2024), ECF No. 121. Under Local Rule 7.1(d), “[m]otions and responses may not exceed 25 pages

without leave of Court.” Rather than file three separate briefs of up to 25 pages—an opposition to

Plaintiffs’ motion for summary judgment, an opposition to Intervenors’ motion for summary

judgment, and a brief in support of Defendants’ own cross-motion, adding up to a potential 75

pages—it would be more efficient, and less burdensome to the Court, for Defendants simply to

file one consolidated brief with extended page limits. The same is true of the parties’ other

summary judgment filings.

        To that end, the parties respectfully request that the Court allow them to file consolidated

briefs along the lines of the existing schedule, as follows:
Case: 2:24-cv-00072-DCR-CJS          Doc #: 128 Filed: 08/08/24             Page: 2 of 6 - Page
                                        ID#: 2889



      •      Defendants must file a consolidated memorandum in response to Plaintiffs’ and

             Intervenors’ dispositive motions and in support of any cross-motions of no more

             than 50 pages on or before Friday, August 23, 2024.

      •      Plaintiffs and Intervenors must each file a separate consolidated memorandum (one

             for Plaintiffs and one for Intervenors) in response to the defendants’ cross-motions

             and reply in support of each of their own dispositive motions of no more than 25

             pages on or before Wednesday, September 4, 2024.

      •      Defendants must file their consolidated reply in support of any cross-motions of no

             more than 25 pages on or before Friday, September 13, 2024.

Dated: August 8, 2024                             Respectfully submitted,

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                                              2
Case: 2:24-cv-00072-DCR-CJS           Doc #: 128 Filed: 08/08/24     Page: 3 of 6 - Page
                                         ID#: 2890



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                                             3
Case: 2:24-cv-00072-DCR-CJS            Doc #: 128 Filed: 08/08/24     Page: 4 of 6 - Page
                                          ID#: 2891



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                                              4
Case: 2:24-cv-00072-DCR-CJS   Doc #: 128 Filed: 08/08/24      Page: 5 of 6 - Page
                                 ID#: 2892




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                                            members while D.C. Bar application is
                                            pending.




                                     5
Case: 2:24-cv-00072-DCR-CJS            Doc #: 128 Filed: 08/08/24           Page: 6 of 6 - Page
                                          ID#: 2893



                                CERTIFICATE OF SERVICE

       I hereby certify that on August 8, 2024, I electronically filed this document with the

Court by using the CM/ECF system, and that this document was distributed via the Court’s

CM/ECF system.

                                                    /s/ Pardis Gheibi
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                                                6
